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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        SECURITIES AND EXCHANGE
                                   7    COMMISSION,                                       Case No. 3:18-cv-05080-JST (DMR)

                                   8                   Plaintiff,
                                                                                          NOTICE OF RESCHEDULED
                                   9              v.                                      SETTLEMENT CONFERENCE AND
                                                                                          SETTLEMENT CONFERENCE ORDER
                                  10    MICHAEL B. ROTHENBERG, et al.,
                                                                                          Re: Dkt. Nos. 38 and 61
                                  11                   Defendants.

                                  12   TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          The above matter was referred to Magistrate Judge Donna M. Ryu for settlement purposes.

                                  14   You are hereby notified that the settlement conference is RESCHEDULED to April 30, 2019 at

                                  15   11:00 a.m., in Courtroom No. 4, Third Floor, U.S. District Court, 1301 Clay Street, Oakland,

                                  16   California 94612.

                                  17          Parties shall comply with the requirements and procedures set forth in this Court’s Notice

                                  18   of Settlement Conference and Settlement Conference Order dated January 7, 2019. [See Docket

                                  19   No. 38.]

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                                  21          IT IS SO ORDERED.

                                  22   Dated: March 5, 2019
                                                                                      ______________________________________
                                  23
                                                                                       DONNA M. RYU
                                  24                                                   United States Magistrate Judge

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